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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      (at Lexington)

  SHERRILL RAY ROGERS,                           )
                                                 )
           Plaintiff,                            )       Civil Action No. 5: 22-029-DCR
                                                 )
  V.                                             )
                                                 )
  INFILTRATOR WATER                              )                   ORDER
  TECHNOLOGIES, LLC WELFARE                      )
  PLAN, et al.,                                  )
                                                 )
          Defendants.                            )

                                    ***   ***    ***   ***

       This matter is pending for consideration of the parties’ joint stipulation to dismiss the

plaintiff’s claims against Defendants Infiltrator Water Technologies, LLC Welfare Plan,

Infiltrator Water Technologies, LLC, and the Hartford Financial Services Group, Inc. [Record

No. 11] Having considered the matter, it is hereby

       ORDERED that the parties’ stipulation, which is docketed as a motion [Record No.

11], is GRANTED. Plaintiff Sherrill Rogers’ claims against Defendants Infiltrator Water

Technologies, LLC Welfare Plan, Infiltrator Water Technologies, LLC, and the Hartford

Financial Services Group, Inc. are DISMISSED. These defendants shall be TERMINATED

as parties to this action.




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    Dated: March 7, 2022.




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